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                              UNITED STATES DISTRICT COURT
                                              FOR THE
                                    DISTRICT OF COLUMBIA
                                                  §
 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CAUSE NO. 21-CR-40-08
                                                  §
 STEVEN PHILLIP CAPPUCCIO                         §

            STEVEN PHILLIP CAPPUCCIO’S MOTION TO MODIFY CONDITONS
                             OF PRE-TRIAL RELEASE

         Steven Phillip Cappuccio (Mr. Cappuccio), through counsel, respectfully moves this Court

for an Order modifying conditions of his release. Specifically, he requests that the conditions of

location and monitoring and his curfew be lifted. Mr. Cappuccio has been under location and

monitoring since his arrest in August of 2021 and has had a curfew since December 17, 2021. He

has not incurred a single violation. Mr. Cappuccio’s probation officer in San Antonio, Texas,

Michael Perez, consents to this motion and agrees that location monitoring are not required to

supervise Mr. Cappuccio. Mr. John Copes with pretrial in the District of Columbia defers to this

Court on whether conditions should be modified but due state that Mr. Cappuccio has been

compliant.

         In support of this Motion, counsel states:

      1. Mr. Cappuccio was arrested in his home in Universal City, Texas on August 10, 2021. See

         Arrest Warrant, Doc. No. 106, 107. Mr. Cappuccio was released on a personal

         recognizance bond which included location and monitoring and home detention. See Order

         of Release, Doc. No. 117. On August 4, 2021, Mr. Cappuccio was charged in a Fourth

         Superseding Indictment with one count of 8 U.S.C. § 111 (Assaulting, Resisting, or

         Impeding Certain Officers or Employees); one count of 18 U.S.C. § 111(b) (Assaulting,
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   Resisting, or Impeding Certain Officers or Employees While Using a Deadly or Dangerous

   Weapon); one count of 18 U.S.C. § 2111 and 2 (Robbery); one count of 18 U.S.C. §

   1512(c)(2) (Obstruction of an Official Proceeding); one count of 18 U.S.C. § 231(a)(3)

   (Certain Acts During Civil Disorder); one count of 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)

   (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or

   Dangerous Weapon); one count of 18 U.S.C. §§ 1752(a)(4) and (b)(1)(A) (Engaging in

   Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

   Weapon); one count of 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol

   Building); and one count of 40 U.S.)(F) (Act of Physical Violence in the Capitol Grounds

   or Buildings). Each of these alleged offenses stem from the events at the Capitol on January

   6th, 2021.

2. On December 15, 2021, Counsel filed a Motion to Modify Mr. Cappuccio’s Conditions of

   Release requesting home confinement and the electronic monitor be removed. Doc. No.

   185.

3. On December 17, 2021 at the pretrial conference this Court modified Mr. Cappuccio’s

   conditions and removed the condition of home confinement and placed a curfew from

   10pm to 7am.

4. Mr. Cappuccio has been attending biweekly sessions with his counselor Nikkala Kordzik

   since November 6, 2021. He has not missed or cancelled any of his sessions.

5. Mr. Cappuccio’s teenage daughter who lives at home just gave birth to a baby girl on

   Tuesday, April 19, 2022. Mr. Cappuccio and his wife, Jennifer, are helping their daughter

   raise the baby.
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6. Mr. Perez agrees that it would be appropriate to remove conditions of location monitoring

   and remove the curfew. Mr. John Copes, from DC pretrial services, states Mr. Cappuccio

   has been compliant on supervision and will defer to this Court on whether Mr. Cappuccio’s

   conditions should be modified.

7. Mr. Cappuccio is a 52-year-old with no history of violence or prior convictions. Before the

   pandemic he was a senior at Texas State University. He receives VA benefits and is Mr.

   Mom to his four school aged children, taking them to and from school as well as soccer

   practice, basketball practice, and band. As of Tuesday, Mr. Cappuccio is now assisting his

   teenage daughter with her baby.

8. Mr. Cappuccio’s past record and his record on pre-trial release, as well as his efforts to

   improve himself by attending counseling, demonstrate that he is neither a flight risk or a

   danger to the community.

                                           Conclusion

   For the reasons stated herein and any others that appear to the Court, Mr. Cappuccio

respectfully moves the Court to remove the conditions of electronic monitoring and the curfew.

A proposed Order is attached for the Court’s review.



                                                Respectfully submitted,

                                                MAUREEN SCOTT FRANCO
                                                Federal Public Defender


                                                /s/ MARINA-THAIS DOUENAT
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                                                     Fax: 210-472-4454



                                CERTIFICATE OF SERVICE

       I, Marina-Thais Douenat, Assistant Federal Public Defender for the Western District of

Texas, hereby certify that on the 21st day of April 2022 filed the foregoing pleading with the Clerk

of the Court using the CM/ECF system, which will then send a notification of such filing (NEF)

to all counsel of record.




                                              /s/ MARINA-THAIS DOUENAT
                                              Assistant Federal Public Defender

                                              ____________________________
                                              MARINA-THAIS DOUENAT
                                              Assistant Federal Public Defender
                                              Texas State Bar No. 00798310
